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 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                         ) Case No.: CR.S. 12-115 GEB
     United States of America,             )
 9                                         ) STIPULATION AND ORDER TO CONTINUE
                   Plaintiff,              ) STATUS CONFERENCE
10                                         )
             vs.                           ) Court: Hon. Garland E. Burrell,
11                                         ) Jr.
                                           ) Time:   9:00 a.m.
12   Gerardo Cardenas, et. al.,            ) Date:   May 3, 2013
                                           )
13                 Defendants
14

15

16           Defendants Gerardo Cardenas, Alejandro Galvan and Alejandro
17   Solario-Chavez are charged in an eight count indictment alleging
18   violations of 21 U.S.C. §§s 841(a)(1) – possession with intent to
19   distribute methamphetamine and 21 U.S.C. 853(a) – a criminal
20   forfeiture count.     A status conference was previously set for March 8,
21   2013.     The parties are involved in defense investigation, as well as
22   negotiations and all parties request that the current status
23   conference be continued to May 3, 2013 if that date is available with
24   the Court.
25

26   ///
27   ///
28   ///




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 1                         The parties agree that time should be excluded under 18 U.S.C. §

 2   3161(h)(8)(i) for defense preparation and under local code T4.

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 4
     Dated: March 5, 2013                        Respectfully submitted,
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 6

 7                                                     __/s/ Shari Rusk___
                                                       Shari Rusk
 8                                                     Attorney for Defendant
                                                       Gerardo Cardenas
 9

10                                                       /s/ Erin Radekin
                                                         Erin Radekin
11                                                       Attorney for Alejandro Munoz-Galvan
12

13                                                       /s/ Michael Bigelow
                                                         Michael Bigelow
14                                                       Attorney for Alejandro Pantoja-Solario

15                                                       /s/ Todd Leras
                                                         Todd Leras
16                                                       Assistant United States Attorney
17

18                                               ORDER
19

20                         IT IS SO ORDERED.   The Court finds excludable time through May 3,
21   2013, based on Local Code T4, giving counsel reasonable time to
22   prepare.
23   Date:                 3/5/2013

24                                                    ___________________________________
                                                      GARLAND E. BURRELL, JR.
25                                                    Senior United States District Judge
     DEAC_Signature-END:




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     61khh4bb
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